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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES - GENERAL




 Case No.       LA CR18-00876 JAK                                               Date      March 3, 2022


 Present: The Honorable      John A. Kronstadt, United States District Judge

 Interpreter

        T. Jackson-Terrell                   Myra Ponce                        J. Jamari Buxton (video)
           Deputy Clerk                Court Reporter/Recorder                  Assistant U.S. Attorney


         U.S.A. v. Defendant(s):       Present Cust. Bond        Attorneys for Defendants: Present App. Ret.


                                                                David Wasserman, DFPD
Anderson Sam Bonilla Echegoyen                    X                                             X         X
                                                                (video)

 Proceedings:       PETITION ON PROBATION AND SUPERVISED RELEASE (DKT. 79)

The hearing is held. Agustin Sanchez, U.S. Probation Officer, is also present by video conference. Counsel all
appear in that manner. The defendant is not present. Recording or re-broadcasting of the proceedings is
strictly prohibited. The Court has been informed through contacts by the Court Clerk with the Metropolitan
Detention Center, that Defendant has been hospitalized and, therefore, cannot appear for the hearing.

The Court continues the hearing to March 31, 2022, at 8:30 a.m. The precise time of the hearing may change
upon the issuance of the final calendar for that date.

The Court orders MDC, or the medical provider who may be treating Defendant, to communicate with
defendant’s counsel about when, in light of Defendant’s current heath condition and treatment, it is expected
that Defendant will be able to participate in a hearing. The communication need not disclose the details of
Defendant’s medical condition; provided, however, the MDC or medical provider may do so if Defendant has
consented to that disclosure to his counsel.

IT IS SO ORDERED.
                                                                                                 :    09

                                                                Initials of Deputy   TJ
                                                                             Clerk
cc: U.S.P.O.




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